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ROBER'I‘ L. GELTZER " i_=§;’l-_._.D\l§§,RJCTOF
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Septelnber 25. 2018

Robert A. Gavin‘ Jr.

C'terk of the Court

United States Bankruptcy Conrt
l§astem District of New York

2?1 Cadman Plaza Easl. Roont 1595
Brooklyn, NY 1 1201-1800

‘1
Re: L.essno LLC (“Debtor”) - Case No. 09-44989 (ESS)
Dear Bob:

I believe that I spoke with you about this ease some time ago and it is the first item I mentioned
in m_v Jul_v ]6, 2018 letter to you in which l state that on July l'?, 2015 lodge Stong issued an order
closing this case; my letter and her order are enclosed

Notwithstanding that. on June 15. 2018 I received an entail front your Ol`l`lce to close the case
because a final report was never filed -- but a final report need not have been filed in that this ease was
dismissed and, in any event` .1 udge Stong1 as slated, closed it. On June 29, 201 8 we responded, but Maria
Mendieta insisted that the case could still not be closed -- for whatever reason I cannot discem. She
wanted a Trustee"s Report ol`No Distribution to be liled. Nevertheless_ we responded on .luly 9_. 2018
and informed her that such a report was not appropriate in a ease where | collected and disbursed t`unds.
which was followed-up by my July 16, 2013 letter to you. On September 12. 2018, we sent a follow-up
letter to your Off`ice, a copy ol` which is enelosed. advising Ms. Mendieta that the case ought to be closed.
On September 14_. 20[8. the docket stated that a report is to be filed immediately

There is no report.

Thus, 1 shall be very grateful ifyou would tend to this matter by noting on the docket that the
case is, indeed closed.

   

With litany thanks and kindest personal regards, l r main

RLG:ayh
Enelosures

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ROBERT L. GEL'I`zER

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July 16, 2018

BY EMAIL ONLY

Robert A. Gavin, Jr.

Clerk of the Court

United States Bankruptcy Court
Eastern District of New York

271 Cadman Plaza East. Room 1595
Brooklynl NY 11201-1800

Dear M)r/Ga%

hanks so much for your July 5. 2018 response. Whi|e l am pleasant|y well aware that l
no longer serve on the Eastern District Pane| for assignment of new cases. 1 verin believe that
my suggestions in my April 26, 2018 and July 3, 2018 notes would redound to the benefit of all
concerned. As for the notice you provided, l was unaware of it in that it is dated February 1l
2017 andl thus, followed the date of my December 31, 2014 resignation. l do believe that the
instructions should provide that the Consumer Credit Counseling Certificate also be sent to the
trustee prior to the 341 meeting.

With respect to the July 5, 2018 Case Report that you attached to your emai|, the
following cases were incorrectly noted in the Report and should be closed by your Oftice:

' Lessno LLC - Case No. 09-44979 (ESS) - On July 17, 2015, Judge Stong issued an
Order closing this case.

- Hill 135, lnc. - Case No. 11-41799 (CEC) - Pursuant to Judge Craig's April 1, 2011
Order, this case was substantively consolidated with Leonid Chatkhan. Case No. 10-46775
(CEC). On April 10, 2018, the Court entered a Final Decree closing the Chatkhan case. Thus.
this case should be closed too;

' 384 LSTR, Inc. - Case No. 11-41803 (CEC) - Pursuant to Judge Craig's April 1, 2011
Order, this case was substantively consolidated with Leonid Chatkhan. Case No. 10-46775
(CEC). On April 10, 2018, the Court entered a Final Decree closing the Chatkhan case. Thus.
this case should be closed too;

~ Sal 01, Inc. - Case No. 11-41804 (CEC) - Pursuant to Judge Craig's April 1. 2011
Order, this case was substantively consolidated with Leonid Chatkhan. Case No. 10-46775
(CEC). On April 10, 2018, the Court entered a Final Decree closing the Chatkhan case. Thus.
this case should be closed too;

' Flat 117 Inc. - Case No. 11-41805 (CEC) - Pursuant to Judge Craig's April 1, 2011
Order, this case was substantively consolidated with Leonid Chatkhan. Case No. 10-46775

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(CEC). On April 10l 2018, the Court entered a Final Decree closing the Chatkhan case. Thus.
this case should be closed too;

- Rem 106 lnc. - Case No. 11-41807 (CEC) - Pursuant to Judge Craig's April 1, 2011
Order, this case was substantively consolidated with Leonid Chatkhan. Case No. 10-46775
(CEC). On April 10, 2018l the Court entered a Final Decree closing the Chatkhan case. Thus.
this case should be closed too; and

» Gary Tashlltsky - Case No. 12-45669 (CEC) - On November 21. 2013, | filed a No
Asset Report.

Thanks so much.

   

With kindest personal regards, l remain

RLG:ayh i_/

cc: Wil|iam K. Harrington. Esq. (by email)
Linda A. Riffkin, Esq. (by email)
Christine H. Black, Esq. (by email)
Wto Genna. Esq. (by email)

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UN|TED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK

 

|n Re: Chapter 7
LESSNO, LL.C1 Case No. 09-44979 (ESS)

Debtor.

 

ORDER CLOS[NG CHAPTER 7 CASE

The Court having entered an order on December 22, 2014 approving a stipulation
entitled: "Stipu|ation and Order Concerning the Payment by the Debtor's Parent Neveq S.A.R.L.
to the Trustee of Funds Sutl'icient to Satisfy the Administrative Claims of the Trustee and his
professionals Aliowed by the Court and Provlding for Dismissa| of the Debtor's Chapter 7 Case
upon the Trusiee’s Payment of Said A|lowed Administrative C|aims" (the “Order"); and Robert L.
Geltzer, the Chapter 7 Trustee having made ali distributions pursuant to the procedures set forth
in said Order; and no further administration is necessary; and after due deliberation and
sufficient cause appearing therefor‘ it is hereby

ORDERED. that consistent with said Orderl all remaining property of the Debtor’s estate
shall be abandoned to the Debtor in accordance with Section 544 of the Bankruptcy Code and;
it is further

ORDERED, that the Court shall w retain jurisdiction to hear and determine all matters
arising from or relating to the implementation of this C|osing Order; and it is further

ORDERED, that this Chapter 7 case is dismissed and closed

numbers s. ston§;`)

United States Bankruptcy Judge

 

Dated: Brooklyn, New York
July 1?', 2015

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Mark Bruh

m I
From: Mark Bruh

Sent: Wednesday, September 12l 2018 10:12 AM

To: ’Maria_Mendieta@nyeb.uscourts.gov'

Subject: FW: Lessno LLC - Case No. 09-44979 (ESS)

Ms. Mendieta:

On July 9, 2018, l sent to you the below email regarding the closing of the above case. To date, the case has not been
closed.

Thanks,

Mark E. Bruh, Esq.

Law Offices of Robert L. Geltzer
1556 Third Avenue, Suite 505
New York, New York 10128
Phone (212) 410-0100

Fax (212) 410»0400

mbruh@geltzerlaw.com

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federal tax advice contained in this communication (inc|uding any attachments) is not intended or written to be used. and
cannot be used. for the purpose of (i) avoiding penalties under the internal Revenue Code or (ii) promoting. marketingl or
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From: Mark Bruh

Sent: Monday, July 09, 2018 4:17 PM

To: '|Vlaria__|V|endieta@nyeb.uscourts.gov' <Maria_Mendieta@nyeb.uscourts.gov>
Sub]ect: RE: Lessno LLC - Case No. 09-44979 (ESS)

Ms. Mendieta:

|n response to your below emai|, please be advised that the Trustee collected $89,960.00 in connection with the
administration of this case. Pursuant to the Court's December 22, 2014 Stipu|ation and Order, those funds were
disbursed to administrative creditors. Thus, given that the Trustee collected and disbursed funds, it appears that a No
Distribution Report is not appropriate in this case. Thus, judge Stohg issued herluly 17, 2015 Order dismissing and
closing this case.

l trust that this is responsive.

Thank you,

Mark E. Bruh, Esq.

Law Oftices of Robert L. Geltzer
1556 Third Avenue, Suite 505
New York, New York 10128
Phone (212) 410-0100

Fax (212) 410-0400

mbruh@ge|tzerlaw.com

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recommending to another party any transaction or matter addressed herein.
From: Maria Mendieta@nveb.uscourts.gov <Maria Mendieta@nveb.uscourts.gov>
Sent: Friday, June 29, 2018 2:14 PM
To: Mark Bruh <mbruh e|tzerlaw.com>

Subject: Re: Lessno LLC - Case No. 09~44979 (ESS)
Good Aftemoon Mr. Bruh:

Judge Stong did sign the order dismissing and closing the case; however, for administrative purposes the case can not be
closed until the court receives the Trustee's No Distribution Report.

Thank you.

Maria E. Mendieta

Public Service Clerk

U.S. Bankruptcy Court, EDNY

271 Cadman Plaza East. Suite 1595
Brook|yn, New York 11201

Phone: (347) 394-1783

From: Mark Bruh <mbruh eltzenaw.co >

To: ‘mgrfa mendieta@nyeb.uscourts.gov" WMM@@MM!LQQ!>
Date: 06118/2018 02:48 FM

Subied: Lessno LLC - Case No. 0944979 (ESS)

 

Ms. Mendieta:

This is in response to your June 15, 2018 email to Mr. Geltzer. P|ease be advised that pursuant to Judge Stong‘s July 15, 2015 Order
[ECF 209], a copy of which is attached, this case was dismissed and closed.

Thanks,

Mark E. Bruh, Esq.

Law Offices of Robert L. Geltzer
1556 Third Avenue, Suite 505
New ¥ork, New York 10128
Phone (212) 410-0100

Fax (212) 410-0400

mbruh@geltzerlaw.com

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cannot be used, for the purpose of (i) avoiding penalties under the internal Revenue Code or (ii) promoting, marketing, or
recommending to another party any transaction or matter addressed herein.[attachment "c|osing order.pdf" deleted by
Maria Mendieta/N¥EB/OZ/USCOURTS]

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